                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE



                                                   )
DAIL DESILVA                                       )
                                                   )    Case No. 3:11-cv-1059
v.                                                 )     JUDGE CAMPBELL
                                                   )
AMERICAN CREDIT & COLLECTIONS, LLC                 )
                                                   )



                                   ENTRY OF JUDGMENT



       Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the Federal
Rules of Civil Procedure on March 23, 2012.




                                                   KEITH THROCKMORTON, CLERK
                                                   s/Dalaina Thompson, Deputy Clerk




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